

Unlimited Assets, Inc. v PennyMac Corp. (2023 NY Slip Op 05385)





Unlimited Assets, Inc. v PennyMac Corp.


2023 NY Slip Op 05385


Decided on October 24, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 24, 2023

Before: Kern, J.P., Singh, Gesmer, Scarpulla, O'Neill Levy, JJ. 


Index No. 31371/18 Appeal No. 890 Case No. 2022-03457 

[*1]Unlimited Assets, Inc., Plaintiff-Appellant,
vPennyMac Corp. et al., Defendants-Respondents, Jahana Momtaj et al., Defendants.


Fadullon Dizon Krul, LLP, Jericho (Nicholas Safran of counsel), for appellant.
Friedman Vartolo LLP, New York (Sean K. Monahan of counsel), for respondents.



Order, Supreme Court, Bronx County (Marissa Soto, J.), entered on or about August 8, 2022, which granted defendants PennyMac Corp. and PennyMac Loan Services, LLC's motion to dismiss the complaint as against them, unanimously affirmed, with costs.
The court properly dismissed the complaint against defendants. The affidavit of Constantine Giannakos, Esq. failed to demonstrate that plaintiff's deed to the subject property was "entitled to be recorded" at the time the deed was mailed to the City Register in September 2014. The affiant failed to identify either the property associated with the unsigned template cover letter, or the documents allegedly included with the letter. Therefore, the affidavit did not show that the letter included the paperwork necessary to record a deed. The affiant also did not provide a copy of the cancelled check nor state which among numerous check entries on his bank statement related to the subject premises; nor did he refer to the filing of the necessary paperwork such as Real Property Transfer Return, NYS TP-584, nor NYC RP-5217 and their associated costs; nor to any receipt from the Office of the City Register or proof of the finalization of recordation. For these reasons, the motion court properly found the affidavit to be conclusory and of no probative value. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 24, 2023








